    Case 2:19-cr-00207-GZS Document 26 Filed 01/06/20 Page 1 of 5                     PageID #: 55




                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF MAINE

                         |
UNITED STATES OF AMERICA |                             Criminal No. 2:19-cr-207-GZS
                         |
          v.             |
                         |
THELL BROWN,             |
     DEFENDANT           |


                       Defendant Thell Brown’s Motion to Suppress All Evidence
                             Derived from a Traffic Stop on June 5, 2019

                                                   Background

           At 3:10 p.m. on June 5, 2019, while travelling northbound on Interstate 95, Maine State

Police Trooper John Darcy drove in the far-left lane and past two vehicles which were bunched

together in the middle lane. Trooper Darcy sped past those vehicles, remained in the left-hand

lane and observed, for at least 30 seconds, a passenger car driven by Thell Brown. Mr. Brown

was in the middle lane and was not speeding. Trooper Darcy arbitrarily decided that Thell

Brown was following too closely1 behind the vehicle ahead of him and initiated a traffic stop.

           After the vehicle stop, police seized Mr. Brown and his passenger. Law enforcement

then learned that Mr. Brown had an active warrant for his arrest. Searches of Mr. Brown’s person

incident to and after his arrest yielded approximately 24 grams of crack cocaine and two (2)

Oxycodone Hydrochloride 5 mg pills.

           The United States Government secured a grand jury Indictment charging Thell Brown

with Possession with Intent to Distribute Cocaine Base.




1
    An ostensible violation of Title 29-A Maine Revised Statutes §2066.
 Case 2:19-cr-00207-GZS Document 26 Filed 01/06/20 Page 2 of 5                       PageID #: 56




                                                 Argument

       The Fourth Amendment protects “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures …” U.S. Const. Amend.

IV. “An officer can stop a car if he sees a driver commit a traffic offense, even if the stop is just

an excuse to investigate something else.” United States v. McGregor, 650 F.3d 813, 820 (1st Cir.

2011), quoting Whren v. United States, 517 U.S. 806, 810 (1996) (“As a general matter, the

decision to stop an automobile is reasonable where the police have probable cause to believe that

a traffic violation has occurred.”) A seizure unsupported by probable cause (or reasonable

suspicion) fails to withstand Fourth Amendment analytical scrutiny.

       In United States v. Woodrum, 202 F.3d 1, 2000 U.S. App. LEXIS 880, the First Circuit

described the scrutiny:


                It is doctrinal bedrock that a police stop of a moving vehicle
       constitutes a seizure of the vehicle's occupants and therefore comes
       within the purview of the Fourth Amendment. See Whren v. United
       States, 517 U.S. 806, 809-10, 135 L. Ed. 2d 89, 116 S. Ct. 1769 (1996);
       United States v. Hensley, 469 U.S. 221, 226, 83 L. Ed. 2d 604, 105 S.
       Ct. 675 (1985). This principle applies equally to drivers and passengers.
       See United States v. Sowers, 136 F.3d 24, 27 (1st Cir. 1998); see also
       Whren, 517 U.S. at 819 (evaluating a passenger's challenge to a traffic
       stop along with the driver's). Hence, each occupant of a car has a right
       to challenge the propriety of a traffic stop under the Fourth Amendment.
       Although courts occasionally use the term "standing" as a shorthand for
       this status, the real implication is that the individual's Fourth
       Amendment interests were affected by official actions. See Rakas v.
       Illinois, 439 U.S. 128, 138-39, 58 L. Ed. 2d 387, 99 S. Ct. 421 (1978);
       United States v. Sanchez, 943 F.2d 110, 113 n.1 (1st Cir. 1991). The
       primary interests that the Fourth Amendment protects in this type of
       situation include an interest in freedom of movement and a concomitant
       interest in being insulated from the fear and anxiety that frequently
       accompany a sudden, unexplained stop. These interests "are personal to
       all occupants of the vehicle." United States v. Kimball, 25 F.3d 1, 5 (1st
       Cir. 1994).
 Case 2:19-cr-00207-GZS Document 26 Filed 01/06/20 Page 3 of 5                        PageID #: 57




A decade earlier the First Circuit put forth the following “reasonable suspicion for a traffic stop”

analysis in United States v. Chhien, 266 F.3d 1, 2001 U.S. App. LEXIS 20881:


        Reasonable suspicion, as the term implies, requires more than a naked
        hunch that a particular person may be engaged in some illicit activity.
        United States v. Sokolow, 490 U.S. 1, 7, 104 L. Ed. 2d 1, 109 S. Ct. 1581
        (1989). By the same token, however, reasonable suspicion does not
        require either probable cause or evidence of a direct connection linking
        the suspect to the suspected crime. United States v. Cortez, 449 U.S. 411,
        417-18, 66 L. Ed. 2d 621, 101 S. Ct. 690 (1981); United States v. Velez-
        Saldana, 252 F.3d 49, 52 (1st Cir. 2001). Reasonable suspicion, then, is
        an intermediate standard -- and one that defies precise definition. Its
        existence must be determined case by case, and that determination entails
        broad-based consideration of all the attendant circumstances. Florida v.
        Royer, 460 U.S. 491, 500, 75 L. Ed. 2d 229, 103 S. Ct. 1319 (1983). In
        mulling those circumstances, an inquiring court must balance "the nature
        and quality of the intrusion on personal security against the importance of
        the governmental interests alleged to justify the intrusion." Sowers, 136
        F.3d at 27 (quoting United States v. Hensley, 469 U.S. 221, 228, 83 L. Ed.
        2d 604, 105 S. Ct. 675 (1985)). To keep this balance true, the court must
        make a practical, commonsense judgment based on the idiosyncrasies of
        the case at hand. Ornelas v. United States, 517 U.S. 690, 695-96, 134 L.
        Ed. 2d 911, 116 S. Ct. 1657 (1996).

       To work the calculus of reasonable suspicion in the context of a traffic stop,
       an inquiring court must ask whether the officer's actions were justified at
       their inception, and if so, whether the officer's subsequent actions were
       fairly responsive to the emerging tableau -- the circumstances originally
       warranting the stop, informed by what occurred, and what the officer
       learned, as the stop progressed. Sowers, 136 F.3d at 27. Formulating the
       answers to these queries demands a margin of flexibility. After all, while an
       officer's actions must bear some relation to the purpose of the original stop,
       he may shift his focus and increase the scope of his investigation by degrees
       if his suspicions mount during the course of the detention. Id.; see also Terry
       v. Ohio, 392 U.S. 1, 10, 20 L. Ed. 2d 889, 88 S. Ct. 1868 (1968)



       Thell Brown contends that Trooper Darcy arbitrarily concluded that he

committed a traffic infraction. Stopping Brown’s car essentially based on a guess

or hunch fails to meet the threshold of Fourth Amendment legitimacy. Thell Brown
 Case 2:19-cr-00207-GZS Document 26 Filed 01/06/20 Page 4 of 5                 PageID #: 58




petitions this Honorable Court to suppress all evidence derived from this

unconstitutional traffic stop.




Dated at Biddeford, Maine, this 6th day of January 2020.
                                            /s/ Joseph S. Mekonis
                                            Attorney for T. Brown
                                            Joseph S. Mekonis (Bar No. 8947)
 Case 2:19-cr-00207-GZS Document 26 Filed 01/06/20 Page 5 of 5                    PageID #: 59




                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE



                               CERTIFICATE OF SERVICE


       I, Joseph Mekonis, Attorney for Thell Brown, hereby certify that I electronically filed the

foregoing Motion to Suppress All Evidence Derived from a Traffic Stop on June 5, 2019 with the

Clerk of Court and AUSA Meghan Connelly via the ECF system.




Date: 6 January 2020                        /s/ Joseph Stanley Mekonis
                                            JOSEPH S. MEKONIS (Bar No. 8947)
                                            Law Office of Joseph Mekonis, P.A.
                                            P.O. Box 679
                                            Saco ME 04072
                                            (207) 283-6610
